




NO. 07-03-0182-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



DECEMBER 21, 2004



______________________________





REGINA LEA REED, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A14585-0208; HONORABLE ROBERT W. KINKAID, JR., JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Regina Lea Reed appeals from her conviction and sentence for possession of a controlled substance by fraud. &nbsp;We affirm.

Appellant pled guilty to a charge of possession of a controlled substance by fraud. &nbsp;She was admonished, both orally and in writing, by the trial court. &nbsp;Appellant confirmed that she understood the written admonishments. &nbsp;The court questioned appellant to confirm that she was competent to enter the plea, that the plea was being given knowingly and voluntarily and that she understood the rights that she was waiving by pleading guilty. &nbsp;The court accepted the plea and found appellant guilty.

There was no plea bargain as to punishment. &nbsp;Appellant waived a jury and the court heard evidence regarding punishment. &nbsp;Appellant was sentenced to incarceration in the Texas Department of Criminal Justice, Institutional Division, for five years. 

Appointed appellate counsel has filed a Motion to Withdraw as Counsel and a Brief in Support thereof. &nbsp;In 
support of the Motion to Withdraw, counsel has certified that, in compliance with 
Anders v. California
, 386 U.S. 738, 744-745, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), the record has been diligently reviewed and that, in the opinion of counsel, the record reflects no reversible error or grounds upon which a non-frivolous appeal can arguably be predicated. &nbsp;Counsel has discussed why, under the controlling authorities, there is no arguably reversible error in the trial court proceedings or judgments. 
See
 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978).

Counsel has certified that a copy of the 
Anders
 brief and motion to withdraw have been forwarded to appellant, and that counsel has appropriately advised appellant of her right to review the record and file a 
pro se
 response. &nbsp;Appellant has not filed a response.

We have made an independent examination of the record to determine whether there are any non-frivolous grounds on which an appeal could arguably be founded. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); &nbsp;
Stafford v. State
, 813 S.W.2d 503, 511 (Tex.Crim.App. 1991). &nbsp;The record reveals no such grounds. &nbsp;We agree with appellate counsel that the appeal is frivolous. &nbsp;

Counsel’s Motion to Withdraw is granted. &nbsp;The judgment of the trial court is affirmed.					

Phil Johnson

Chief Justice







Do not publish. &nbsp;


